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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §         4:20-CR-00562
                                               §
DURLAN GARCIA PUPO,                            §
      Defendant.                               §




      GOVERNMENT=S STATEMENT OF NO OBJECTIONS TO THE
            PRESENTENCE INVESTIGATION REPORT


      COMES NOW, the United States of America, by and through Jennifer

Lowery, United States Attorney, and Thomas H. Carter, Assistant United States

Attorney for the Southern District of Texas and advises the Court as follows:



                             Statement of No Objection

      Pursuant to criminal local rule 32.6B, the Government hereby gives notice to

the Court that it has no objections to the factual basis of the Presentence Investigation

Report prepared by the U.S. Probation Office on defendant DURLAN GARCIA-

PUPO.      Further, the United States does not object to the Guidelines calculations

included in the Presentence Investigation Report, should the Court adopt the


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Presentence Investigation Report’s use of U.S.S.G. § 2B1.1, comment (n.3(F)(i).



                                                  Respectfully submitted,

                                                  JENNIFER B. LOWERY
                                                  United States Attorney


                                                By: /s/ Thomas H. Carter
                                                Thomas H. Carter
                                                Assistant United States Attorney
                                                1000 Louisiana, Suite 2300
                                                Houston, Texas 77002




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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Government=s

Notice of No Objections to the Presentence Investigation Report was served on the

Defendant=s attorney of record, Christian Navarro, via PACER/ECF notification and

at email address ccn.lawyer@gmail.com and the U.S. Probation Office by ECF

electronic filing, on March 30, 2022.



                                                 /s/ Thomas H. Carter
                                                THOMAS H. CARTER
                                                Assistant United States Attorney




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